                                                            FIL/1E2/2D022         MMA
                    IN THE UNITED STATES DISTRICT COURT     10
                   FOR THE NORTHERN DISTRICT OF ILLINOIS             . BRUTO    N
                                                           THOMA.SDG
                                                                   IS T R IC T COURT
                              EASTERN DIVISION          CLERK, U.S


RICHARD ROGERS, individually        )
and on behalf of a class of         )
other persons similarly situated,   )
                                    )
                   Plaintiffs,      )
                                    )
      vs.                           )           Case No. 19 C 3083
                                    )
BNSF RAILWAY CO.,                   )
                                    )
                   Defendant.       )



                           INSTRUCTIONS TO THE JURY




Date: October 12, 2022
      Members of the jury, you have seen and heard all the evidence, and you are about

to hear the arguments of the attorneys. Now I will instruct you on the law.

      You have two duties as a jury. Your first duty is to decide the facts from the

evidence in the case. This is your job, and yours alone.

      Your second duty is to apply the law that I give you to the facts. You must follow

these instructions, even if you disagree with them. Each of the instructions is important,

and you must follow all of them. You must also continue to follow the instructions that I

gave you at the start of the trial that you may not communicate about the case or about

people involved in the case with anyone other than your fellow jurors until after you have

returned your verdict.

      Perform these duties fairly and impartially. Each party to the case is entitled to the

same fair consideration. Do not allow sympathy, prejudice, fear, or public opinion to

influence you. You should not be influenced by any person's race, color, religion,

national ancestry, age, or sex.

      Nothing I am saying now, and nothing I said or did during the trial, is meant to

indicate any opinion on my part about what the facts are or about what your verdict

should be.

      To the extent that these instructions differ from the instructions that I read you at

the beginning of the case, the instructions that I am giving you now are the ones that

govern your consideration of this case.




                                              1
         The evidence consists of the testimony and the exhibits, as well as the parties'

stipulations. A stipulation is an agreement that certain facts are true.

         Certain testimony was presented by reading a deposition. You should give this

testimony the same consideration that you would give it if the witness had testified here in

court.




                                               2
       In determining whether any fact has been proved, you should consider all of the

evidence bearing on that fact, regardless of who offered the evidence.

       You must make your decision based on what you recall of the evidence. You will

not have a written transcript of the testimony to consult.




                                              3
      Certain things are not evidence. I will list them for you:

      First, if I told you to disregard any testimony or exhibits or struck any testimony or

exhibits from the record, such testimony or exhibits are not evidence and must not be

considered.

      Second, anything that you may have seen or heard outside the courtroom is not

evidence and must be entirely disregarded. This includes any press, radio, Internet or

television reports you may have seen or heard. Such reports are not evidence, and your

verdict must not be influenced in any way by such publicity.

      Third, questions and objections are not evidence. A lawyer has a duty to object

when he or she believes a question is improper. You should not be influenced by any

objection, and you should not infer from my rulings that I have any view about how you

should decide the case.

      Fourth, the parties' opening statements and closing arguments to you are not

evidence. Their purpose is to discuss the issues and the evidence. If the evidence as

you remember it differs from what was stated in the opening statements and closing

arguments, your memory is what counts.




                                              4
       Any notes you have taken during this trial are only aids to your memory. The

notes are not evidence. If you have not taken notes, you should rely on your

independent recollection of the evidence and not be unduly influenced by the notes of

other jurors. Notes are not entitled to any greater weight than the recollections or

impressions of each juror about the testimony.




                                              5
       You should use common sense in weighing the evidence and consider the

evidence in light of your own observations in life.

       In our lives, we sometimes look at one fact and conclude from it that another fact

exists. In law we call this an "inference." A jury is allowed to make reasonable

inferences, so long as they are based on the evidence in the case.

       You may have heard the phrases "direct evidence" and "circumstantial evidence."

Direct evidence is proof that does not require an inference, such as the testimony of

someone who claims to have personal knowledge of a fact. Circumstantial evidence is

proof of a fact, or a series of facts, that tends to show that some other fact

is true.

       You are to consider both direct and circumstantial evidence. The law allows you

to give equal weight to both types of evidence, but it is up to you to decide how much

weight to give to any evidence in the case.




                                               6
       You must decide whether the testimony of each of the witnesses is truthful and

accurate, in part, in whole, or not at all. You also must decide what weight, if any, you

give to the testimony of each witness.

       In evaluating the testimony of any witness, including any party to the case, you

may consider, among other things:

       -      the ability and opportunity the witness had to see, hear, or know the things

that the witness testified about;

       -      the witness's memory;

       -      any interest, bias, or prejudice the witness may have;

       -      the witness's intelligence;

       -      the manner of the witness while testifying;

       -      the reasonableness of the witness's testimony in light of all the evidence in

the case; and

       -      any inconsistent statements or conduct by the witness.

       It is proper for an attorney to meet with any witness in preparation for trial.




                                               7
       The law does not require any party to call as a witness every person who might

have knowledge of the facts related to this trial. Similarly, the law does not require any

party to present as exhibits all papers and things mentioned during this trial.

       You may find the testimony of one witness or a few witnesses to be more

persuasive than the testimony of a larger number of witnesses. You need not accept the

testimony of the larger number of witnesses.




                                               8
       You have heard witnesses, Joseph Caruso and David Kalat, who gave opinions

about matters requiring special knowledge or skill. You should judge their testimony in

the same way that you judge the testimony of any other witness. The fact that such

person has given an opinion does not mean that you are required to accept it. Give the

testimony whatever weight you think it deserves, considering the reasons given for the

opinion, the witness's qualifications, and all of the other evidence in the case.




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                                     The parties and the claims

        The named plaintiff in this lawsuit is Richard Rogers. The defendant is BNSF

Railway Company.

        The lawsuit is a "class action." This means that Mr. Rogers is suing on behalf of

himself and other similarly-situated truck drivers whose fingerprints were scanned using

an Auto Gate System at BNSF's intermodal railyards in Illinois from April 4, 2014 through

January 25, 2020. I will refer to all of these persons collectively as "the plaintiffs."

        The lawsuit is filed under a law called the Illinois Biometric Information Privacy Act,

which I will refer to as the BIPA. The provision of the BIPA that is relevant in this case

states that no private entity may collect, capture, purchase, receive through trade, or

otherwise obtain a person's or a customer's biometric identifier or biometric information,

unless it first:

        -          informs the person in writing, before collecting or storing their biometric

identifier(s) or information, that the biometric information is being collected or stored;

        -          informs the person in writing of the specific purpose for which their biometric

identifier(s) or information will be collected, stored, or used, and the length of time for

which the biometric identifier(s) or information will be collected, stored, or used;

and

        -          receives an informed written consent from the person authorizing it to

collect, store, and use their biometric identifier(s) or biometric information.

        The plaintiffs contend that BNSF violated one or more of these three requirements.

BNSF contends that it did not violate any of these requirements.




                                                   10
                            Preponderance of the evidence

      In these instructions, I will use the term "preponderance of the evidence." When I

say that a party has to prove a proposition by a preponderance of the evidence, I mean

that the party must persuade you that the proposition is more probably true than not true.




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                               What the plaintiff must prove

       To prevail on their claims against BNSF, the plaintiffs must prove both of the

following propositions by a preponderance of the evidence:

       1.     BNSF itself, or through an agent, collected, captured, purchased, received

through trade, or otherwise obtained the plaintiffs' biometric identifier(s) or biometric

information; and

       2.     BNSF itself, or through an agent, failed to do one or more of the following:

       (a)    inform the plaintiffs in writing, before collecting or storing their biometric

identifier(s) or information, that the biometric information was being collected or stored;

       (b)    inform the plaintiffs in writing of the specific purpose and length of time for

which their biometric identifier(s) or information was being collected, stored, or used; or

       (c)    receive a written informed consent signed by the plaintiffs.



       As used in this instruction:

       -      the term "biometric identifier" includes a fingerprint;

       -      the term "biometric information" includes any information, regardless of how

it is captured, converted, stored, or shared, based on an individual's fingerprint used to

identify an individual; and

       -      the term "agent" will be defined in a later instruction.




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                   Negligent / reckless / intentional violation of the BIPA

        If you find that BNSF violated the BIPA in one or more ways, you must then

determine if the plaintiffs have proven by a preponderance of the evidence that BNSF's

violation was negligent, reckless, or intentional and, if so, how many negligent and

reckless or intentional violations of the BIPA the plaintiffs have proven. You will see a

question about this on the verdict form.

        You will not be called upon to award damages to the plaintiffs if you find in their

favor. I will determine the damage award, if any, based on your findings as set out on the

verdict form.

        BNSF acted "negligently" if it failed to do something that a reasonably careful

person or entity would do, or did something that a reasonably careful person or entity

would not do, under circumstances similar to those shown by the evidence. The law

does not say how a reasonably careful person or entity would act under the

circumstances. That is for you to decide.

        BNSF acted "recklessly" if it consciously disregarded or was utterly indifferent to

the plaintiffs' rights.

        BNSF acted "intentionally" if it intended to violate the law.

        The question of whether BNSF acted negligently, recklessly, or intentionally must

be determined for each particular collection of biometric information or identifiers that you

find violated the BIPA. The question is whether BNSF acted negligently, recklessly, or

intentionally at the time of the particular collection. In deciding this issue, you may

consider all of the evidence presented in the case.




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                         Corporation acts through its agents

      BNSF is a corporation and, as such, can act only through its officers, employees,

and agents. An action or omission of a BNSF officer or employee within the scope of

their employment is the action or omission of BNSF. An action or omission of an agent of

BNSF within the scope of its agency is the action or omission of BNSF.




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                              Agent or independent contractor

       The plaintiffs contend, among other things, that BNSF is responsible for the

actions and/or inaction of a company called Remprex with regard to collecting, capturing,

purchasing, receiving through trade, or otherwise obtaining biometric identifiers or

biometric information because Remprex was acting as an agent of BNSF on these tasks.

BNSF denies that Remprex was acting as an agent and contends that Remprex was an

independent contractor.

       An agent is a company that, by oral or written agreement with another company

called the principal, manages some affair or does some service for the principal, with or

without compensation. If BNSF had the right to control the actions of Remprex with

regard to collecting, capturing, purchasing, receiving through trade, or otherwise

obtaining biometric identifiers or biometric information, then you may find that a principal-

agent relationship existed, even though the right to control may not have been exercised.

       An independent contractor is a company that undertakes a specific job, where the

company that hired it does not have the right to direct and control the method and

manner of doing the work.

       The existence of a contract identifying a company as an independent contractor is

not conclusive on the question of whether the company was an independent contractor

for the particular task or tasks that are at issue. You will have to consider all of the

evidence bearing on the issue, including the contract.

       The principal is liable to others for the negligent, reckless, or intentional conduct of

its agent in the transaction of the business of the principal, if the agent itself is liable.




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However, a company that engages an independent contractor is not liable to others for

the negligent, reckless, or intentional conduct of the independent contractor.




                                             16
                                Agent – scope of authority

          One question you may have to decide is whether Remprex was acting within the

scope of its authority. An agent acts within the scope of its authority if it is engaged in an

activity that has been assigned to it by the principal, or if it does something that may

reasonably be said to have been contemplated as a part of that activity that benefits the

principal. The principal need not have expressly authorized the agent's action or failure

to act.




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                                   Final instructions

      Once you are all in the jury room, the first thing you should do is choose a

presiding juror. The presiding juror should see to it that your discussions are carried on

in an organized way and that everyone has a fair chance to be heard. You may discuss

the case only when all jurors are present.

      Once you start deliberating, do not communicate about the case or your

deliberations with anyone except other members of your jury. You may not

communicate with others about the case or your deliberations by any means. This

includes oral or written communication, as well as any electronic method of

communication, such as by using a telephone, cell phone, smart phone, iPhone,

Android, Blackberry, or any type of computer; by using text messaging, instant

messaging, the Internet, chat rooms, blogs, websites, or social media, including

services like Facebook, LinkedIn, GooglePlus, YouTube, Twitter, Instagram, or

SnapChat; or by using any other method of communication.




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      If you need to communicate with me while you are deliberating, send a note

through the court security officer. The note should be signed by the presiding juror or

by one or more members of the jury. To have a complete record of this trial, it is

important that you not communicate with me except by a written note. I may have to

talk to the lawyers about your message, so it may take me some time to get back to

you. You may continue your deliberations while you wait for my answer.

      If you send me a message, do not include the breakdown of your votes. In other

words, do not tell me that you are split 6-4, or 7-3, or whatever your vote happens to be.




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       A verdict form has been prepared for you. You will take this form with you to the

jury room.

       [Read the verdict form.]

       When you have reached unanimous agreement, your presiding juror will fill in

and date the verdict form, and each of you will sign it.

       Advise the court security officer once you have reached a verdict. When you

come back to the courtroom, I will read the verdict aloud.




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       The verdict must represent the considered judgment of each juror. Your verdict

must be unanimous.

       You should make every reasonable effort to reach a verdict. In doing so, you

should consult with each other, express your own views, and listen to your fellow jurors'

opinions. Discuss your differences with an open mind. Do not hesitate to re-examine

your own view and change your opinion if you come to believe it is wrong. But you

should not surrender your honest beliefs about the weight or effect of evidence just

because of the opinions of your fellow jurors or just so that there can be a unanimous

verdict.

       The ten of you should give fair and equal consideration to all the evidence. You

should deliberate with the goal of reaching an agreement that is consistent with the

individual judgment of each juror.

       You are impartial judges of the facts.




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                       VERDICT FORM – Case No. 19 C 3083

      We, the jury, find as follows on the claim of the plaintiffs, Richard Rogers and the

class of similarly situated persons, against the defendant, BNSF Railway Company:

      (check one)

                    ______        In favor of the plaintiffs

                    ______        In favor of BNSF



      (Answer the following question only if you have found in favor of the plaintiffs)

             How many times do you find that
             BNSF violated the BIPA negligently?               _____________

             How many times do you find that BNSF
             violated the BIPA recklessly or intentionally?    _____________
             (Do not include any violations that
             you have determined to be negligent)


Please sign and date the form below:

______________________________                   ____________________________
Presiding juror

______________________________                   ____________________________


______________________________                   ____________________________


______________________________                   ____________________________


______________________________                   ____________________________



Date: October ___, 2022


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